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                                                                                     Rory J. McEvoy

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November 2, 2020

                                                    MEMORANDUM ENDORSEMENT

VIA E-MAIL

Magistrate Judge Kevin Nathaniel Fox
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

Re:    Ritch, et al. v. New York Eye and Ear Infirmary, et al.
       20 Civ. 07344 (KNF)

Dear Judge Fox:

         On behalf of our clients, New York Eye and Ear Infirmary of Mount Sinai, James C.
Tsai, M.D., and the Mount Sinai Health System, Inc, after consultation with Plaintiffs' counsel,
and pursuant to the Court's Individual Rules of Practice 1(E), we write to request that the Court
adjourn the initial pretrial conference scheduled for November 4, 2020. The reason for this
request is that counsel for Plaintiffs, David Bythewood, is hospitalized. On October 29, Mr.
Bythewood emailed me and told me that he was admitted to the hospital the prior evening. On
October 30, I wrote to Mr. Bythewood and asked him if he wanted me to request that the Court
adjourn the November 4 conference. On November 1, Mr. Bythewood replied to my email and
asked me to request an adjournment because he was still in the hospital and did not expect to be
released from the hospital before November 4. This is the first request for an adjournment of the
initial pretrial conference.

Respectfully submitted,

/s/ Rory J. McEvoy

Rory J. McEvoy

cc:    David Bythewood, Esq., Counsel for Plaintiffs (via ECF)
                                           11/2/20
                                            Application granted. The parties shall confer and, thereafter,
                                            propose three dates to the Court on which all parties will be
akerman.com                                 available to participate in the initial pretrial conference.
                                                                               SO ORDERED:

                                                                            Kevin Nathaniel Fox, U.S.M.J.
